                      Case 3:18-cv-07440-JCS Document 30-2 Filed 02/15/19 Page 1 of 4



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           15    Rasier-NY LLC,Uber-USA LLC

           16                                   UNITED STATES DISTRICT COURT

           17                                 NORTHERN DISTRICT OF CALIFORNIA

           18                                         SAN FRANCISCO DIVISION

           19    SC Innovations,Inc.,                            CASE NO. 3:18-CV-07440-JCS
           20                           Plaintiff,               DECLARATION OF SALLE YOO IN
                                                                 SUPPORT OF DEFENDANTS' MOTION TO
           21           V.                                       DISQUALIFY QUINN EMANUEL
                                                                 URQUHART & SULLIVAN, LLP
           22    Uber Technologies,Inc; Rasier LLC; Rasier-
                 CA LLC; Rasier-PA LLC; Rasier-DC LLC;           Hearing:
           23    Rasier-NY LLC; Uber-USA LLC,                    Date:      ApriI12,2019
                                                                 Time:      9:30 a.m.
          24                            Defendants.              Place:     Courtroom G,450 Golden Gate
                                                                            Avenue,San Francisco,CA
          25                                                     Judge:     Hon. Joseph C. Spero

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                         Case 3:18-cv-07440-JCS Document 30-2 Filed 02/15/19 Page 2 of 4



               1            I, Salle Yoo, declare as follows:

                2           1.        I am an attorney duly licensed to practice in the state of California. I make this

               3    declaration in support of Defendants' Motion to Disqualify Quinn Emanuel Urquhart & Sullivan,

               4    LLP ("Quinn Emanuel"). I have personal knowledge of the facts set forth herein and if called and

               5    sworn as a witness I could and would competently testify thereto. By m aking this declaration, I do

               6    not intend to waive any applicable privileges that may be asserted by Uber Technologies, Inc.

               7    ("Uber"), and its affiliates, or by any current or former counsel to Uber, including the attorney-client

               8    and work-product privileges.
               9                                                    Background

               10           2.     I am the former Chief Legal Officer, General Counsel, and Corporate Secretary of

           11       Uber. I was employed by Uber from July 2012 until December 2017. Immediately prior to my

           12       employment at Uber, I was a partner at Davis Wright Tremaine LLP.

           13              3.      While at Uber, my responsibilities included supervising Uber's legal department and

           14       advising the company on legal matters. From time to time, Uber's legal department selected and

           15       retained outside counsel to represent Uber in civil litigation and to advise Uber on various legal

           16       matters. At times, I worked directly with outside law firms and their attorneys on their work on

           17       behalf of Uber.

           18              4.      I understand that Uber is moving to disqualify Quinn Emanuel from representing

           19       Plaintiff, SC Innovations, Inc. ("SCI"), in this lawsuit. I have reviewed SCI's Complaint and have
           20       been informed of the arguments made by Uber in support of its motion to disqualify.

           21                                           Quinn Emanuel's Work for Uber
           22              5.      To my knowledge, the very first lawsuit naming Uber as a defendant was filed in or

           23       around October 2012. A group of taxicab operators sued Uber in the U.S. District Court for the
           24       Northern District of Illinois, alleging, inter alia, that Uber's business conduct in Chicago violated

           25       state unfair competition laws. The case was Yellow Group LLC, et al. v. Uber Technologies, Inc.,

           26       No. 1:12-CV-07967 ("Yellow Group").

           27              6.      In October 2012, I was Uber's sole in-house lawyer. With the filing of the Yellow
           28       Group case, I anticipated that similar unfair competition lawsuits may be filed in other jurisdictions.

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                        DECLARATION OF SALLE YOO IN SUPPORT OF DEFENDANTS' MOTION TO DISQUALIFY QUINN
                                 EMANUEL URQUHART & SULLIVAN, LLP- CASE NO. 3:18-CV-07440-JCS
                       Case 3:18-cv-07440-JCS Document 30-2 Filed 02/15/19 Page 3 of 4



             1   Uber retained Quinn Emanuel to advise and represent Uber in the Yellow Group lawsuit because,

             2   among other reasons,the firm had a national presence,could defend potentially similar cases filed

             3   elsewhere in the United States,and could work with Uber to develop a consistent nationwide strategy

             4   for litigation involving competition issues. As part of its work for Uber,I anticipated that Quinn

             5   Emmanuel would provide advice on compliance with state and federal antitrust and unfair

             6   competition laws. I viewed Quinn Emanuel as an important strategic partner to Uber in advising on

             7   these matters and anticipated that the firm's work for Uber would grow over time.

             8          7.       Quinn Emanuel represented Uber from 2012 through 2016,first as Uber's primary
             9   outside litigation counsel and later as a member of the Company's "Preferred Counsel" program.

           10    Over those four years,the firm advised Uber on many of the Company's most sensitive and high-

           11    profile litigation matters and legal issues.

           12           8.      Specifically,Uber sought strategic antitrust compliance advice related to Uber's

           13    business model and conduct from Quinn Emanuel attorneys,including John Quinn.
           14           9.      I am informed that Uber's records reflect that Quinn Emanuel represented Uber in

           15    approximately 16 U.S. lawsuits that alleged violations of antitrust and unfair competition laws,as

           16    well as a litigation matter in Germany. In addition to these representations, Quinn Emanuel sought to

           17    represent Uber in other civil litigation matters involving issues relating to competition. The

           18    communications between Uber's legal team and the Quinn Emanuel attorneys spanned numerous

           19    emails,telephone calls,videoconferences,and even frequent in-person visits by Quinn Emanuel
           20    attorneys to Uber's corporate headquarters in San Francisco.
           21           10.     One recurring allegation in competition lawsuits filed against Uber was that Uber's

           22    business model and rapid expansion caused injury to competing service providers,like taxicab

           23    drivers and operators. Quinn Emanuel worked closely with Uber's in-house attorneys and business
           24    people to develop legal strategies to defeat cases making these allegations. That effort involved

          25     analysis of competitors and the competitive landscape in various geographic areas,market conditions,

           26    pricing,confidential business strategies,and confidential data. For example,during the course of the

          27     Yellow Group litigation, Quinn Emanuel partner Stephen Swedlow was consulted on proposed

           28    pricing changes to a certain Uber product in Chicago.

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                     DECLARATION OF SALLE YOO IN SUPPORT OF DEFENDANTS' MOTION TO DISQUALIFY QUINN
                              EMANUEL URQUHART & SULLIVAN, LLP- CASE NO. 3:18-CV-07440-JCS
                      Case 3:18-cv-07440-JCS Document 30-2 Filed 02/15/19 Page 4 of 4



             1          11.     Uber and I expected that Quinn Emmanuel would maintain the confidentiality of

             2   Uber's privileged information, as well as highly sensitive business information provided by Uber to

             3   Quinn Emanuel to formulate Uber's legal defenses to lawsuits and to provide advice to the company

             4   and its executives. Based on my experience and my understanding of the issues raised in this

             5   litigation, I believe Quinn Emanuel's representation of SCI against Uber may involve substantive

             6   factual and legal questions that overlap with the privileged and confidential information exchanged

             7   between Uber and Quinn Emmanuel in an attorney-client relationship.

             8          I declare under penalty of perjury under the laws of the United States that the foregoing is true
             9   and correct. Executed this 15th day of February, 2019, in San Francisco, California.

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                              EMANUEL URQUHART & SULLIVAN, LLP - CASE NO. 3: 18-CV-07440-JCS
